                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,                    )       CASE NO. 1:10CR384
                                             )
                      Plaintiff,             )
       v.                                    )       JUDGE SARA LIOI
                                             )
                                             )       MOTION TO SCHEDULE A RULE 35
FRANK P. RUSSO,                              )       HEARING
                      Defendant.             )


       Now comes counsel for the United States, and respectfully requests the Court to schedule

a hearing on the Government’s Motion to reduce defendant’s sentence pursuant to Rule 35(b)(1)

of the Federal Rules of Criminal Procedure. (Doc. 28).

       Defendant pleaded guilty to an information on September 16, 2010 (Doc. 7), and was

sentenced to a term of 262 months on December 15, 2010 (Doc. 19). The judgment was entered

on December 29, 2010 (Doc. 21), and was amended on January 4, 2010 (Doc. 22). At

sentencing, the United States indicated that Defendant was in the early stages of cooperating in

the investigation and that a motion under Rule 35 might be made.

       On December 14, 2011, the Government filed a Rule 35 Motion and asked the Court to

defer ruling on said motion until Defendant’s cooperation was substantially complete. (Doc. 28).

The Government hereby informs the Court that Defendant’s cooperation is substantially

complete. The Government respectfully requests the Court to schedule a hearing at which time,

the Government will apprise the Court of Defendant’s cooperation and make a specific




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sentencing recommendation. The Government is available for such hearing any time prior to

October 25, 2012.



                                                  Respectfully submitted,

                                                  Eric H. Holder, Jr.
                                                  Attorney General of the United States


                                                  Barbara L. McQuade
                                                  United States Attorney
                                                  Eastern District of Michigan


                                           By:    /s/Antoinette T. Bacon
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                                 CERTIFICATE OF SERVICE

       I certify that a copy of the foregoing was filed electronically. Notice of this filing will be

sent by operation of the Court’s electronic filing system to all parties indicated on the electronic

filing receipt. All other parties will be served by regular U.S. mail. Parties may access this filing

through the Court’s system.



                                                      /s/Antoinette T. Bacon
                                                      Antoinette T. Bacon
                                                      Assistant U.S. Attorney




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